Case 1:20-cv-11118-LJL Document 209

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CAMBRIDGE CAPITAL LLC,
Plaintiff,
-v-
RUBY HAS LLC,
Defendant.
RUBY HAS LLC,

Counterclaim-Plaintiff,
~V~

CAMBRIDGE CAPITAL LLC, BENJAMIN
GORDON, and MATTHEW SMALLEY,

. Counterclaim-Defendants.

Filed 08/17/23 Page 1of9

20-cv-11118 (LIL)

VERDICT FORM

PLEASE FOLLOW ALL INSTRUTIONS, CHECK (Vv) YOUR ANSWERS, AND
FILL IN THE BLANKS

All Answers Must Be Unanimous

I. Cambridge Capital’s Breach of Contract Claim — Liability

1, Did Cambridge Capital and Ruby Has have a duty to negotiate in good faith?

[If your answer to Question I is NO, proceed to Question 5 and leave the intervening
questions blank. If your answer is YES, proceed to Question 2.]

YES: No: X

Case 1:20-cv-11118-LJL Document 209 _ Filed 08/17/23 Page 2of9

. Did Cambridge Capital perform its own obligations under the LOI to negotiate in good
faith?

[If your answer to Question 2 is NO, proceed to Question 5 and leave the intervening
questions blank. If your answer is YES, proceed to Question 3.]

YES: NO:

. Did Ruby Has breach its duty to negotiate in good faith by its communications on
December 9, 2020?

[If your answer to Question 3 is NO, proceed to Question 5 and leave the intervening
question blank. If your answer is YES, proceed to Question 4.]

YES: NO:

. Did Cambridge Capital incur damages as a result of Ruby Has’s breach?

[Answer only if you answered YES to Questions 1 through 3. Regardless of whether or
what you answered, Proceed to Question 5.]

YES: NO:

Case 1:20-cv-11118-LJL Document 209 _ Filed 08/17/23 Page 3of9

I. Ruby Has’s Fraud Counterclaim and Affirmative Defense

A. Affirmative Fraud As Against Cambridge Capital, Benjamin Gordon, and Matthew
Smalley

5. Did any of the following Counterclaim-Defendants make false representations with respect
to the funds that Cambridge Capital had ready to invest in Ruby Has if the parties signed
definitive transaction documents?

[If your answer to Question 5 is NO for any particular Counterclaim-Defendant, proceed
to Question 12 and leave the intervening questions blank for that Counterclaim-
Defendant only. If your answer is YES for any particular Counterclaim-Defendant,
proceed to Question 6 for that Counterclaim-Defendant. ]

Cambridge Capital: YES: NO: X
Benjamin Gordon: YES: NO: X
Matthew Smalley: YES: NO: ¥

6. Were any of the following Counterclaim-Defendants’ representations material?

[If your answer to Question 6 is NO for any particular Counterclaim-Defendant, proceed
to Question 12 and leave the intervening questions blank for that Counterclaim-
Defendant only. If your answer is YES for any particular Counterclaim-Defendant,
proceed to Question 7 for that Counterclaim-Defendant. |

Cambridge Capital: YES: NO:
Benjamin Gordon: YES: NO:
Matthew Smalley: YES: NO:

Case 1:20-cv-11118-LJL Document 209 Filed 08/17/23 Page 4of9

. Did any of the following Counterclaim-Defendants make their representations
intentionally or recklessly?

[Tf your answer to Question 7 is NO for any particular Counterclaim-Defendant, proceed
to Question 12 and leave the intervening questions blank for that Counterclaim-
Defendant only. If your answer is YES for any particular Counterclaim-Defendant,
proceed to Question 8 for that Counterclaim-Defendant. ]

Cambridge Capital: YES: NO:
Benjamin Gordon: YES: NO:
Matthew Smalley: YES: NO:

. Did any of the following Counterclaim-Defendants intend for Ruby Has to rely upon
their representations with respect to the funds Cambridge Capital had ready to invest in
Ruby Has if the parties signed definitive transaction documents?

[Tf your answer to Question 8 is NO for any particular Counterclaim-Defendant, proceed
to Question 12 and leave the intervening questions blank for that Counterclaim-
Defendant only. If your answer is YES for any particular Counterclaim-Defendant,
proceed to Question 9 for that Counterclaim-Defendant. ]

Cambridge Capital: YES: NO:
Benjamin Gordon: YES: NO:
Matthew Smalley: YES: NO:

. Did Ruby Has actually rely upon any of the following Counterclaim-Defendants’
representations with respect to the funds Cambridge Capital had ready to invest in Ruby
Has if the parties signed definitive transaction documents?

[Tf your answer to Question 9 is NO for any particular Counterclaim-Defendant, proceed
to Question 12 and leave the intervening questions blank for that Counterclaim-
Defendant only. If your answer is YES for any particular Counterclaim-Defendant,
proceed to Question 10 for that Counterclaim-Defendant. ]

Cambridge Capital: YES: NO:
Benjamin Gordon: YES: NO:
Matthew Smalley: YES: NO:

Case 1:20-cv-11118-LJL Document 209 Filed 08/17/23 Page5of9

10. Was Ruby Has justified in relying upon any of the following Counterclaim-Defendants’
representations with respect to the funds Cambridge Capital had ready to invest in Ruby
Has if the parties signed definitive transaction documents?

[If your answer to Question 10 is NO for any particular Counterclaim-Defendant,
proceed to Question 12 and leave the intervening question blank for that Counterclaim-
Defendant only. If your answer is YES for any particular Counterclaim-Defendant,
proceed to Question 11 for that Counterclaim-Defendant.]

Cambridge Capital: YES: NO:
Benjamin Gordon: YES: NO:
Matthew Smalley: YES: NO:

11. Was Ruby Has damaged as a result of relying upon any of the following Counterclaim-
Defendants’ representations with respect to the funds Cambridge Capital had ready to
invest in Ruby Has if the parties signed definitive transaction documents?

[Answer only if you answered YES to Questions 5 through 10 for any particular
Counterclaim-Defendant. Otherwise, irrespective of whether or what you answer to the
following question for any particular Counterclaim-Defendant, proceed to Question 12.]

Cambridge Capital: YES: NO:
Benjamin Gordon: YES: NO:
Matthew Smalley: YES: NO:

B. Fraud by Omission As Against Cambridge Capital and Benjamin Gordon

12. Did any of the following Counterclaim-Defendants fail to disclose a material fact that
created a false impression for Ruby Has about Benjamin Gordon with respect to the Ability

transaction?

[If your answer to Question 12 is NO for any particular Counterclaim-Defendant, leave
the remaining questions up to and including Question 17 blank for that Counterclaim-
Defendant only. If your answer is YES for any particular Counterclaim-Defendant,
proceed to Question 13 for that Counterclaim-Defendant.]

Cambridge Capital: YES: NO: X
Benjamin Gordon: YES: NO: %

Case 1:20-cv-11118-LJL Document 209 Filed 08/17/23 Page 6of9

13. Did any of the following Counterclaim-Defendants make their omission intentionally or
recklessly?

[If your answer to Question 13 is NO for any particular Counterclaim-Defendant, leave
the remaining questions up to and including Question 17 blank for that Counterclaim-
Defendant only. If your answer is YES for any particular Counterclaim-Defendant,
proceed to Question 14 for that Counterclaim-Defendant. ]

Cambridge Capital: YES: NO:

Benjamin Gordon: YES: NO:

14. Did any of the following Counterclaim-Defendants intend for Ruby Has to rely upon the
false impression that the particular Counterclaim-Defendant created?

[If your answer to Question 14 is NO for any particular Counterclaim-Defendamt, leave
the remaining questions up to and including Question 17 blank for that Counterclaim-
Defendant only. If your answer is YES for any particular Counterclaim-Defendant,
proceed to Question 15 for that Counterclaim-Defendant.]

Cambridge Capital: YES: NO:

Benjamin Gordon: YES: NO:

15. Did Ruby Has actually rely upon what it was told by any of the following Counterclaim-
Defendants about Benjamin Gordon’s involvement in the Ability transaction?

[If your answer to Question 15 is NO for any particular Counterclaim-Defendant, leave
the remaining questions up to and including Question I7 blank for that Counterclaim-
Defendant only. If your answer is YES for any particular Counterclaim-Defendant,
proceed to Question 16 for that Counterclaim-Defendant. ]

Cambridge Capital: YES: NO:
Benjamin Gordon: YES: NO:

Case 1:20-cv-11118-LJL Document 209 Filed 08/17/23 Page 7 of9

16. Was Ruby Has justified in relying upon what it was told by any of the following
Counterclaim-Defendants about Benjamin Gordon’s involvement in the Ability

transaction?

[If your answer to Question 16 is NO for any particular Counterclaim-Defendant, leave
the remaining questions up to and including Question 17 blank for that Counterclaim-
Defendant only. If your answer is YES for any particular Counterclaim-Defendant,
proceed to Question 17 for that Counterclaim-Defendant. ]

Cambridge Capital: YES: NO:

Benjamin Gordon: YES: NO:

17. Was Ruby Has damaged as a result of any of the following Counterclaim-Defendants’

omissions?

[Answer only if you answered YES to Questions 12 through 16 for any particular
Counterclaim-Defendant. Otherwise, irrespective of whether or what you answer to this
question for any particular Counterclaim-Defendant, proceed to Section IIL ]

Cambridge Capital: YES: NO:
Benjamin Gordon: YES: NO:

Case 1:20-cv-11118-LJL Document 209 Filed 08/17/23 Page 8of9

Ill. Damages

. Ruby Has’s Fraud Counterclaims

[Tf you answered YES to Questions 11 or 17 for any particular Counterclaim-Defendant,
plase write how much Ruby Has lost as a result of fraud from each party. If you did not
answer YES to Questions 11 or 17 for any particular Counterclaim-Defendant, do not write
anything in the blanks provided. |

Cambridge Capital $
Benjamin Gordon $
Matthew Smalley $
Total $

. Cambridge Capital’s Breach of Contract Claim

[Tf you answered YES to Question 4, and did not answer YES to Questions 10 or 16 for
any particular Counterclaim-Defendant, please write down how much (in dollars)
Cambridge Capital lost as a result of Ruby Has’s breach of the duty to negotiate in good
faith. If you did not answer YES to Question 4, or answered YES to Questions 10 or 16
for any particular Counterclaim-Defendant, do not write anything in the blank provided. ]

Provide a dollar amount: $

[Please proceed to the following page.]
Case 1:20-cv-11118-LJL Document 209 Filed 08/17/23 Page 9of9

After completing the form, each juror who agrees with this verdict must sign below:

wns eb — AK —

Foreperson

Dated: Agu st / 5, oll) 23
